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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

DOUGLAS MASTRIANO

              Plaintiffs,
v.                                                   Case No. 5:24-cv-00567-F

JAMES GREGORY III, et. al.,

              Defendants.

                    MOTION FOR ADMISSION PRO HAC VICE
                       OF NON–RESIDENT ATTORNEY

       Robert D. Nelon, being duly admitted to practice in the State of Oklahoma and

before this court, moves pursuant to LCvR 83.2 and 83.4 to grant admission to the United

States District Court for the Western District of Oklahoma pro hac vice to the non–resident

attorney identified below to represent the defendant, James Gregory, in this case. In

support of this motion, the undersigned represents as follows:

       1.     Applicant Sara Berinhout is a member in good standing of the Bar of the

State of Massachusetts. She is a Staff Attorney at the Foundation for Individual Rights and

Expression. Her contact information is as follows:

       510 Walnut Street, Suite 900
       Philadelphia, PA 19106
       Tel: (215) 717-3473
       Fax: (215) 717-3440
       sara.berinhout@thefire.org

       2.     In accordance with LCvR 83.2(g), attached as Exhibit 1 is the Request for

Admission Pro Hac Vice form completed by the applicant.
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Dated: August 7, 2024                            Respectfully submitted,

                                                 HALL, ESTILL, HARDWICK,
                                                 GABLE, GOLDEN & NELSON, P.C.

                                       By:       s/Robert D. Nelon
                                                 Robert D. Nelon, OBA #6610
                                                 100 North Broadway, Suite 2900
                                                 Oklahoma City, OK 73102-8865
                                                 Telephone: (405) 553-2828
                                                 Facsimile: (405) 553-2855
                                                 Email: bnelon@hallestill.com


                                                 ATTORNEYS FOR DEFENDANT
                                                 JAMES GREGORY

                           CERTIFICATE OF SERVICE

      I hereby certify that on August 7, 2024, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing, which will transmit a
Notice of Electronic Filing to all ECF registrants of record in this matter.




                                                  /s/Robert D. Nelon




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